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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                Case No. 0:24-cv-60382-DSL

   JESSICA PIAFSKY, an individual,
                                         Plaintiff,

   v.
                                                      EXHIBITS TO PLAINTIFF’S
   MB HOME IMPROVEMENTS INC. a Florida                RESPONSE TO DEFENDANT
   Corporation, MAXIM BOHADANA, an Individual,        MAXIM BOHADANA’S
   ROI NEEMAN, an Individual and CONSTRUCTION         MOTION TO DISMISS THE
   FORT LAUDERDALE, INC. d/b/a MB HOME                COMPLAINT PURSUANT TO
   IMPROVEMENTS, a Florida Corporation,               FED. R. CIV. P. 12 (B)(2)
                                      Defendants




                      EXHIBIT A
      Case
       Case0:24-cv-60382-DSL
            0:24-cv-60382-DSL Document
                               Document25-1
                                        11 Entered
                                            Enteredon
                                                    onFLSD
                                                       FLSDDocket
                                                            Docket04/05/2024
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                                                     RETURN OF SERVICE

                                        UNITED STATES DISTRICT COURT
                                            Southern District of Florida
Case Number: 0:24-CV-60382-DSL

Plaintiff:
JESSICA PIAFSKY, an individual
vs.
Defendants:
MB HOME IMPROVEMENTS INC. a Florida corporation, MAXIM BOHADANA, an
individual, ROI NEEMAN, an individual and
CONSTRUCTION FORT LAUDERDALE INC.
d/b/a MB HOME IMPROVEMENTS, a Florida
corporation,

For:
David W. Berenthal, Esq.
Berenthal & Associates
45 East 72 Street, Suite 5C
New York, NY 10021

Received by Civil Process LLC on the 11th day of March, 2024 at 8:00 am to be served on Maxim Bohadana, 1118 N 46th
Terrace, Hollywood, FL 33021.

I, Dan Ackerman, do hereby affirm that on the 2nd day of April, 2024 at 7:30 am, I:

SUBSTITUTE served by delivering a true copy of the SUMMONS IN A CIVIL ACTION, AND COMPLAINT WITH
EXHIBITS with the date and hour of service endorsed thereon by me, to: Nicole Bohadana as Co-Resident/Wife at the
alternate address of: 9610 NW 24TH ST, SUNRISE, FL 33322, the within named person's usual place of Abode, who
resides therein, who is fifteen (15) years of age or older and informed said person of the contents therein, in compliance
with state statutes..

Description of Person Served: Age: 35, Sex: F, Race/Skin Color: Caucasian, Height: 5'5", Weight: 150, Hair: Dark Brown,
Glasses: N

Under penalties of perjury, I swear or affirm, pursuant to Fla. Stat. 95.525 that I have read the foregoing and the facts
stated herein are true. I am over the age of 18; have no interest in the above action; and am a Special Process Server in
good standing in the circuit in which service was effected in accordance with State Statutes.




                                                                                               Dan Ackerman
                                                                                               SPS #362

                                                                                               Civil Process LLC
                                                                                               7350 NW 77th Street
                                                                                               Medley, FL 33166
                                                                                               (305) 375-9111

                                                                                               Our Job Serial Number: CPP-2024000489


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